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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION



CRIMINAL NO. 07-50051-001                USA v. DOUGLAS HAASE

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. WENDY JOHNSON

Clerk: GAIL GARNER                       Deft. W.H. TAYLOR/TERRY HARPER

Reporter: THERESA SAWYER

                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Court expresses final approval of plea agreement.
      (X)    Victim Impact Statement: 1. Tom Giller, Kraft Foods
      (X)    Evidence presented: Government’s Exhibits 1-6 (list
             attached).
      (X)    Government’s motion for downward departure addressed
             by the court - granted and 4 level departure awarded.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            36 months imprisonment on each count to run concurrently;
            3 years supervised release on each count to run
            concurrently; $610,884.15 restitution - interest
            waived; $50,000.00 fine - interest waived.
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      (X)   Defendant ordered to comply with standard conditions of
            supervised release.
      (X)   Defendant ordered to comply with following special
            conditions of supervised release:

            Do not incur any new debt or establish new bank
            accounts prior to full payment of restitution and fine
            without permission of USPO.

            Disclose financial information to USPO at their
            request.

      (X)   Defendant ordered to pay total special assessment of
            $200.00, for counts 1&2, which shall be due immediately.
      (X)   Indictment dismissed on motion by the government.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Appeal packet provided.
      (X)   Defendant allowed to remain on present bond and
            surrender no later than 2:00 p.m. on Thursday, 9/25/08.



DATE: SEPTEMBER 3&4, 2008          Proceeding began:     9:40 AM
                                              recess:   10:29 AM
                                              reconvene: 7:57 AM
                                              ended:     8:22 AM
